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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
NORTHERN DIVISION AT COVINGTON

NICHOLAS SANDMANN, by and ; CASE NO. 19-CV-00056-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
V.
NBCUNIVERSAL MEDIA, LLC

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00023-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.

THE NEW YORK TIMES COMPANY
d/b/a THE NEW YORK TIMES

Defendant.

NICHOLAS SANDMANN, by and s CASE NO. 20-CV-00024-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.

CBS NEWS, INC., et al.

Defendants.

4826-3252-7356v.3 0019918-000075
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NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00025-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and = JULIE

SANDMANN,

Plaintiff,
V.
ABC NEWS, INC., et al.

Defendants.

NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00026-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and = JULIE

SANDMANN,

Plaintiff,
Vv.

GANNETT CO., INC. AND GANNETT
SATELLITE INFORMATION
NETWORK, LLC,

Defendants.
CASE NO. 2:20-CV-00027-WOB-CJS

NICHOLAS SANDMANN, by $$ and
through his parents and natural guardians,
TED SANDMANN and JULIE
SANDMANN,

Plaintiff,
Vv.
ROLLING STONE, LLC, et al.

Defendants.
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DECLARATION OF MARCUS FREJO

1. My name is Marcus Frejo. J make this Declaration from personal knowledge and
am competent to testify to the facts stated herein.

2. I am the individual pictured towards the middle of this image wearing glasses and

a white cap:

 

3. I am a musician and music producer. My music mixes the modem substance of
freestyling, Hip Hop, and Funk with traditional Native American forms and values. I have played
concerts at many reservations and urban locations. I have also worked for programs on alcohol,
drug, and suicide prevention.

4. On January 18, 2019, I participated in the Indigenous Peoples March, an event
sponsored by the Indigenous Peoples Movement, i Washington, D.C. I drove there from
Oklahoma City, where I live. My understanding of the Indigenous Peoples March was that it was

intended to celebrate unity among indigenous peoples and raise awareness about the injustices we
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face. The March included speeches, songs, dancing, and prayer. Because I am a musician, when I
participate in events or demonstrations I often help lead song and dancing. That evening I
performed at a fundraising concert in support of the Indigenous Peoples’ Movement at the
Songbyrd Music House in Washington, D.C.

> I attended the Indigenous Peoples March with my friend, Anthony Tee (“Tony”),
who also goes by the name “Nymasis.” Tony is also a musician and we have often performed
together, both professionally and at events supporting the rights of Indigenous People.

6. Towards the end of the March, Tony and I helped lead a prayer song near the
Lincoln Memorial during a round dance, a traditional and sacred Native American dance that is
performed in acircle. Round dances are typically held at Native American community gatherings,
and they celebrate our culture, community ties, and traditions. The round dance also features
rhythmic drumming with instruments like hand drums. Drumming is an integral part of the round
dance and Native culture more broadly

7. After the round dance, other participants in the Indigenous Peoples March began to
leave. I felt fulfilled and revitalized by the experience. So I decided to stay for a bit longer at the
Lincoln Memorial to enjoy the positive, spiritual energy I was feeling. Atsome point that aftemoon
I noticed a small group of Black men, who I later learned call themselves the Black Hebrew
Israelites. I had first noticed them when they were taunting Native Americans during the rally.
Later, I saw that the Black Hebrew Israelites were engaged in a verbal back-and-forth witha group
of white high-school age teenagers, many of whom were wearing “Make America Great Again”
hats. It appeared as though both the Black Hebrew Israelites and the students were mocking and

heckling each other.
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8. Over time, it seemed to me that the tensions between the two groups were rising.
More students had arrived, and eventually, the students greatly outnumbered the Black Hebrew
Israelites. As their group grew in size, the students were getting rowdier and more aggressive, and
they began shouting and screaming more loudly. I heard chants coming from within the students
which seemed to me intended to taunt the Black Hebrew Israelites.

9. I then observed a student taking his shirt off and leading the others in shouting,
jumping, and clenching their fists. I thought they were doing an appropriated version of the haka,
a traditional dance performed by the Maori, who are indigenous to New Zealand. I later learned
that students said this was a school cheer they call the sumo cheer, but that is not what it looked
like to me at the time. It seemed to me that the students were mocking the haka and indigenous
culture, and that their shouts and gestures were aggressively taunting the Black Hebrew Israelites.

10. As the students grew louder and more aggressive, it seemed to me like they were
preparing themselves for something. I grew increasingly concerned that there could be a physical
altercation between the students and the Black Hebrew Israelites.

11. As the students were growing louder, I was standing nearby watching and filming
some of the confrontation. I saw Nathan Phillips starting to drum and sing while standing some
distance away, and I recognized that he was using my friend Tony’s drum. I did not personally
know Mr. Phillips then. I recognized him and knew his name because I had attended protests at
Standing Rock Indian Reservation a few years before and had seen him there, but I had not
personally met him.

12. Mr. Phillips is obviously elder to me, and I respected Mr. Phillips as a Native elder.

In Native culture, elders play an important role in families and communities. Elders impart wisdom
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and values and model behavior for Native youth. Within Native culture, elders are afforded great
respect and deference, and are to be protected.

13. | WhenI sawMr. Phillips drumming, I moved back from the students. Inmy culture,
we believe that song and prayer have the power to calm down and restore balance to tense
situations. So that was what I believed Mr. Phillips was trying to do, which seemed to me a natural
and positive response to the situation I was witnessing. I wanted to stay with Mr. Phillips as an
elder and support what he was doing. I had my own drum with me in a backpack, and so I went
to be with Mr. Phillips. He was singing the American Indian Movement song, a familiar song
among many Native Americans that is often used to bring prayer, peace, and unity toa situation.

14. I approached Mr. Phillips to let him know I was going to sing with him. I have
reviewed a video that I understand is labeled Video 17 in this case, and at 1:10 of that video I see
myself briefly speaking to Mr. Phillips. While I do not recall my exact words, I said words to the
effect of Iam going to sing with you. Mr. Phillips did not ask me to jom him or to videotape
anything, nor did I hear him ask anyone else to join him or to videotape anything. I decided to
sing with him because I believed it was the right thing to do, and I still do. I moved a little closer
to the students and the Black Hebrew Israelites because I thought everyone would see us and hear
our song better that way. I took my drum out of my backpack and called out “Nymasis” to my
friend, who was standing farther back from me, to show him what I was doing.

15. 9 Mr. Phillips then began walking up towards the students until he stood in front of
them. I did not know he was going to do that, but my natural instinct was to follow his lead as an
elder. I assumed that he went in front of the students because he thought it was the best way to
bring positive energy directly to them and defuse the tensions before the situation escalated any

further. As we approached the students, it seemed to me they started dancing, hooting, and
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laughing at us. I saw teens raise and lower their arms in a tomahawk chop, which I felt ridiculed
Native Americans and our culture. I became increasingly concemed for Mr. Phillips’ safety. I felt
a responsibility to protect him from any potential physical harm. We are taught in Native culture
to always protect the safety of our elders. So I kept a close eye on Mr. Phillips and the crowd to
try to make sure Mr. Phillips stayed safe. I was surprised that no adults seemed to be supervising
the students or telling them to act appropriately in a public place like the Lincoln Memonal.

16. After standing in front of the students as they behaved in that manner, it appeared
to me that Mr. Phillips started trying to make his way forward and through the crowd. Sol
followed behind him. As Mr. Phillips moved forward, students started to move to the side out of
his way and it seemed they were parting for him so he could walk forward.

17. Asstudents moved to the side and Mr. Phillips moved forward, I noticed that one
student, who I later came to know was Nicholas Sandmann, seemed to me to move to stand in
front of Mr. Phillips and remain there in his way. From where I was standing, it seemed like Mr.
Sandmann intentionally sought some kind of stand-off with Mr. Phillips, as other students both in
front of and behind Mr. Sandmann were doing the opposite and moving away.

18. Itseemed to me then, and it still does, that Mr. Sandmann blocked Mr. Phillips. It
seemed to me that he stepped in front of Mr. Phillips and planted himself there to try to prevent
Mr. Phillips from walking forward through the crowd as he had been doing. It also seemed to me
that once he stood in front of Mr. Phillips, Mr. Sandmann was smirking at him to mock him.

19. When I saw what Mr. Sandmann was doing, I became even more fearful that Mr.
Sandmann or someone else might be intending to provoke some kind of confrontation that could
result in Mr. Phillips being harmed, or that someone in the crowd might unintentionally strike him.

So in response to Mr. Sandmann’s actions, I moved from behind Mr. Phillips and stood next to
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him by his side, to try to position myself as a buffer between Mr. Phillips and the crowd to his
right to protect him.

20. At one point while Mr. Sandmann and Mr. Phillips were still facing each other, a
man wearing a red hat standing near me and a student began arguing with each other. I did not
know the man in the red hat, but I assumed that like me he was there because he wanted to support
what Mr. Phillips was doing. I respect his right to express his views, but I did not think that was
a good way to handle the situation because I thought it could inflame tensions rather than ease
them. So I briefly spoke to the man in the hat and said don’t talk to him, don’t engage, which I
see on Video 3 at 2:02.

21. I continued singing the American Indian Movement song and hitting my hand
drum. Although it took time, it seemed to me that the spiritual peace we were hoping to share with
our drumming and singing eventually spread through some of the students. I felt some of the
students were joining in our song and the situation seemed tome to be growing calmer. Eventually
an adult came over, the students began dispersing, and Mr. Sandmann walked away.

22. After the students started to disperse, I knew I was eventually going to need to
leave, and I was concerned that Mr. Phillips not be left alone. I said something to Mr. Phillips to
let him know I was leaving, and the man in the red hat told me “don’t worry about it, we’re here.”
So I asked the man in red hat “you got him?”, referring to Mr. Phillips, and m response, the man
in the red hat said several times, “I got him,” which I understood to mean that he would remain
and be with Mr. Phillips. A woman standing there, who I did not know, also responded and told
me that, “we got Nate,” which I understood to re-assure me that she was also going to be there

with Mr. Phillips.
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23. Shortly after that the man in the red hat said, “We won grandpa.” I did not know
what he meant by that and I did not respond to it. At that pomt, Mr. Phillips ended the song.
Shortly after that I heard Mr. Phillips call out, “Relatives, relatives.” I understood him to be trying
to get the attention of everyone in the vicinity there, because that is a common expression to try to
get the attention of a group of people.

24. Afterthe incident was over, I felt very good about what had happened. I felt like
Mr. Phillips had succeeded in diffusing a potentially dangerous confrontation between the students
and the Black Hebrew Israelites, and I was glad to have joined him in trying to do that. I felt like
song and prayer had accomplished exactly what I had hoped it would, and I still feelthat way. To
me it was a teachable moment that if you try to bring a positive message, you can accomplish
something positive.

25. [have read that Mr. Sandmann and his lawyers claim that drumming, singing and
approaching the students was some kind of conspiracy to manufacture a viral moment to make
President Trump’s supporters look bad. Those accusations are just false. There were fewer than
a handful of people near Mr. Phillips when he began his prayer and tomy knowledge hardly anyone
knew each other. The only words I exchanged with Mr. Phillips then were to let him know I
would sing with him. AsI experienced it, the prayer and song that J participated in that day to try
to bring healing to a volatile situation was a sacred moment that reflected the essence of who Iam
as a spiritual being and what I value about my religion and culture.

I affirm under the penalties of perjury that the foregoing is true and correct, to the best
of my knowledge.
Dated: November 15, 2021 Co

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Marcus Frejo
